Case 8:17-cv-01386-DOC-KES Document 51 Filed 02/09/18 Page 1 of 2 Page ID #:1730



                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

   Case No. SA CV 17-1386-DOC (KESx)                                Date: February 9, 2018

  Title: BILLIE RENE FRANCES LILLIAN POWERS V. THE BANK OF NEW YORK
        MELLON ET AL.

  PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                Deborah Lewman                                  Not Present
                Courtroom Clerk                                Court Reporter

         ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
               PLAINTIFF:                                   DEFENDANT:
                 None Present                                  None Present



         PROCEEDINGS (IN CHAMBERS): ORDER DENYING PLAINTIFF’S
                                    MOTION TO DISMISS [48]

          On February 2, 2018, pro se Plaintiff Billie Rene Frances Lillian Powers
  (“Plaintiff”) filed a Motion to Dismiss With Prejudice (“Motion”) (Dkt. 48). In the
  Motion, Plaintiff asks the Court to dismiss the action in Plaintiff’s favor “for Defendants
  [sic] failure to answer the amended complaint caused to be filed on December 14, 2017.”
  Mot. at 2.

         Plaintiff’s Motion is improper for several reasons. First, if a defendant fails to
  timely respond to service of a complaint, the proper procedure for a plaintiff to follow is
  to seek entry of default and move for a default judgment pursuant to Federal Rule of Civil
  Procedure 55—not to file a motion to dismiss. See Fed. R. Civ. P. 55(a)–(b). Next,
  pursuant to Federal Rule of Civil Procedure 12, in response to being served with a
  complaint, a defendant may file a motion to dismiss—instead of an answer—within the
  deadline for serving a responsive pleading. See Fed. R. Civ. P. 12(a)–(b). If the court
  denies a defendant’s motion to dismiss, the defendant must then serve a responsive
  pleading (i.e. an answer) within fourteen days of notice of the court’s order denying the
  motion to dismiss. Fed. R. Civ. P. 12(a)(4)(A).
Case 8:17-cv-01386-DOC-KES Document 51 Filed 02/09/18 Page 2 of 2 Page ID #:1731
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL

   Case No. SACV 17-1386-DOC (KESx)                                        Date: February 9, 2018
                                                                                           Page 2

         In this case, Plaintiff filed her Second Amended Complaint on December 14, 2017
  (Dkt. 32). On December 28, 2017, well within the required time to serve a response to the
  Second Amended Complaint, Defendants filed Motions to Dismiss (Dkts. 35, 38) and a
  Motion to Strike (Dkt. 36). See Fed. R. Civ. P. 12. Accordingly, Defendants are not
  required to serve an answer or other responsive pleading until fourteen days after the
  Court rules on Defendants’ Motions to Dismiss and Motion to Strike. See Fed. R. Civ. P.
  12(a)(4)(A). Thus, Defendants have not failed to timely serve an answer to the Second
  Amended Complaint, as Plaintiff claims they have. See Mot. at 2. Accordingly, because
  Plaintiff’s Motion is neither procedurally proper nor substantively meritorious, the Court
  DENIES Plaintiff’s Motion.

          The Court once again warns Plaintiff that her deadline to oppose Defendants’
  Motions to Dismiss and Motion to Strike is February 15, 2018. See Order Resetting
  Dates for Defendants’ Motions to Dismiss (“Order”) (Dkt. 43). Plaintiff’s opposition was
  originally due on or before January 15, 2018, but in the interest of resolving the claims on
  their merits, the Court already granted Plaintiff a one-month extension after Plaintiff
  failed to meet the original deadline. See id. The Court again warns Plaintiff that failure to
  timely file an opposition could result in dismissal of her case in favor of Defendants
  pursuant to Local Rule 7-12.

         The Clerk shall serve this minute order on the parties.
   MINUTES FORM 11                                                     Initials of Deputy Clerk: djl
   CIVIL-GEN
